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B 2100A (Form 2100A) (12/15)


                          UNITED STATES BANKRUPTCY COURT
                                                   Eastern District Of Virginia

In re Leona Q McGowan ,                                                                            Case No. 19-50567-SCS


                 TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.


Headlands Residential 2019-RPL1 Owner
Trust                                                                     Windsor Park Asset Holding Trust
________________________________________                                  ________________________________________
           Name of Transferee                                                          Name of Transferor

Name and Address where notices to transferee                              Court Claim # (if known): 11-2
should be sent:                                                           Amount of Claim: $88,365.05
                                                                          Date Claim Filed: 07/03/2019
BSI Financial Services
1425 Greenway Drive #400
Irving, TX 75038
Phone: 800-327-7861                                                       Phone: 877-426-8805
Last Four Digits of Acct. #: 2506                                         Last Four Digits of Acct. #: 6154

Name and Address where transferee payments
should be sent (if different from above):
BSI Financial Services
314 S. Franklin Street
P.O. Box 517
Titusville, PA 16354
Phone: 800-327-7861
Last Four Digits of Acct. #:



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By:    /s/ Keith Yacko                                                       Date:          April 28, 2021
      Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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                                 CERTIFICATE OF SERVICE
The undersigned hereby certifies under penalty of perjury that he/she is over eighteen (18) years
of age and that the TRANSFER OF CLAIM OTHER THAN FOR SECURITY in the above
captioned case was this day served upon the below named persons by mailing, postage prepaid,
first class mail or by electronic service copy of such instrument to each person, party, and/or
counsel at the addresses shown below:

Via U.S. Mail

Leona Q McGowan
1941 Kensington Drive
Hampton, VA 23663


Via CM/ECF electronic service:
Barry W. Spear
Boleman Law Firm, P.C.
272 Bendix Road
Suite 330
Virginia Beach, VA 23452

Kelly Megan Barnhart
Roussos & Barnhart, PLC
500 E. Plume Street, Suite 503
Norfolk, VA 23510

R. Clinton Stackhouse, Jr.
Office of the US Trustee, Region 4-N
7021 Harbour View Boulevard
Suite 101
Suffolk, VA 23435

Dated: April 28, 2021
                                            Respectfully submitted,
                                            /s/ Keith Yacko
                                            Keith Yacko, Virginia Bar No. 37854
                                            McMichael Taylor Gray, LLC
                                            3550 Engineering Drive, Suite 260
                                            Peachtree Corners, GA 30092
                                            Telephone: (470) 289-4347
                                            Facsimile: (404) 745-8121
                                            E-mail: kyacko@mtglaw.com
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314 S Franklin St. / Second Floor                                                                                                                        11-23-2020
PO Box 517
Titusville, PA 16354                                                                                                                      Sent via First Class Mail
800-327-7861
814-217-1366 Fax
https://myloanweb.com/BSI                                                                                                  Old Account Number:

                                                                                                                                 Account Number:
                                                                                                                   Property Address: 1941 KENSINGTON DR
                                                                                                                                      HAMPTON VA 23663

     LEONA MCGOWAN
     272 BENDIX RD SUITE
     VIRGINIA BEACH VA 23452




                                                       NOTICE OF SERVICING TRANSFER
  The servicing of your mortgage loan is being transferred to BSI Financial Services, effective 11-19-2020. The transfer of servicing does not affect
  any term or condition or the mortgage loan other than terms directly related to the servicing of the loan.

                                                         WHAT THIS MEANS FOR YOU
  After this date, BSI Financial Services will be collecting your mortgage loan payments from you. As referenced above, your loan number may
  have changed; however, nothing else about your mortgage loan will change.

  ROUNDPOINT MORTGAGE SERVICING, your prior servicer, was collecting your payments. ROUNDPOINT MORTGAGE SERVICING will not accept
  any payments received by you after the day preceding 11-19-2020, at which point BSI Financial Services, as your new servicer, will start
  accepting payments received from you going forward.

  Customers can send all payments due on or after 11-19-2020, to BSI Financial Services at this address:

  Via First Class Mail                                                               Via Priority or Overnight Mail
  BSI Financial Services                                                             BSI Financial Services
  PO Box 679002                                                                      Lockbox Number 679002
  Dallas, TX 75267-9002                                                              1200 E. Campbell Rd. Ste. 108
                                                                                     Richardson, TX 75081

  If you have any questions for either your prior servicer, ROUNDPOINT MORTGAGE SERVICING, or your new servicer, BSI Financial Services,
  about your mortgage loan or this transfer, please contact them using the information below:

  Prior Servicer                                                                     New Servicer
  ROUNDPOINT MORTGAGE SERVICING                                                      BSI Financial Services
  Customer Care                                                                      Customer Care
  PO BOX 19409                                                                       314 S Franklin St, 2nd Floor
  CHARLOTTE NC 28219                                                                 Titusville, PA 16354
  877-426-8805                                                                       800-327-7861

  Under Federal law, during the 60-day period beginning on the effective date of the transfer of the loan, a loan payment received by your old
  servicer on or before its due date (including any grace period allowed under the mortgage loan instruments) may not be treated by the new
  servicer as late, and a late fee may not be imposed on you.




  Licensed as Servis One, Inc. dba BSI Financial Services BSI Financial Services BSI NMLS # 38078
  Customer Care Hours: Mon. - Fri. 8:00 am to 11:00 pm (ET) and Sat. 8:00 am to 12:00 pm (ET).
  If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your personal
  liability for the obligation identified in this letter, we may not and do not intend to pursue collection of that obligation from you personally. If either of these
  circumstances apply, this notice is not and should not be construed to be a demand for payment from you personally. Unless the Bankruptcy Court has ordered
  otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.
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Automatic Withdrawal Customers: If your payments are currently set for automatic withdrawal from your checking or savings account,
ROUNDPOINT MORTGAGE SERVICING will discontinue the auto-withdrawal service on 11-18-2020.

Next Steps: Please be sure to send a check to BSI Financial Services for your next payment along with the enclosed temporary coupon. If you
would like to continue having your payments automatically withdrawn, BSI Financial Services would be happy to set you up on our Automatic
Withdrawal Program (ACH). Please complete the attached Automatic Clearing House (ACH) Application and return to BSI Financial Services via
fax or mail as outlined in the application. If you need assistance in completing the application, please contact our Customer Care department at
800-327-7861.

You will be receiving a monthly statement in the mail from BSI Financial Services. The following payment options are available to make your
mortgage payment: regular mail, expedited or overnight mail such as UPS or FedEx at the addresses provided above; complete the attached
Automatic Clearinghouse Application to participate in ACH weekly, bi-weekly, or monthly; schedule a one-time or recurring payment via
https://myloanweb.com/BSI; Pay by Phone by calling 800-327-7861; and, and Western Union using the city code BSI and the state PA .

We look forward to servicing your loan. Please contact us at 800-327-7861 with any questions or concerns.

Sincerely,
Customer Care Department
BSI Financial Services
NMLS # 38078; # 126672

* This is an attempt to collect a debt. Any information obtained will be used for that purpose.

Important note about insurance: If you have mortgage life or disability insurance or any other type of optional insurance, the transfer of
servicing rights may not affect your insurance because we do not service mortgage life or disability premiums. However, if you wish to retain
optional insurance, we would suggest that you contact your current optional product service provider.




                                       Qualified Written Request - Notice of Error or Information Request

Under the Real Estate Settlement Procedures Act, a qualified written request is a written correspondence (other than notice on your payment coupon or
other payment medium supplied by us) regarding the servicing of your loan which identifies your name, account number, and the specific reasons for the
request, such as an error on your loan account or a request for information. Any qualified written request you wish to submit must be sent to:

                                                                   BSI Financial Services
                                                             Attn: Qualified Written Requests
                                                            314 S Franklin Street / Second Floor
                                                                    Titusville, PA 16354




Licensed as Servis One, Inc. dba BSI Financial Services BSI Financial Services BSI NMLS # 38078
Customer Care Hours: Mon. - Fri. 8:00 am to 11:00 pm (ET) and Sat. 8:00 am to 12:00 pm (ET).
If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your personal
liability for the obligation identified in this letter, we may not and do not intend to pursue collection of that obligation from you personally. If either of these
circumstances apply, this notice is not and should not be construed to be a demand for payment from you personally. Unless the Bankruptcy Court has ordered
otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.
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314 S Franklin St. / Second Floor                                                                                                                        11-23-2020
PO Box 517
Titusville, PA 16354                                                                                                                      Sent via First Class Mail
800-327-7861
814-217-1366 Fax
https://myloanweb.com/BSI                                                                                                  Old Account Number:

                                                                                                                                 Account Number:
                                                                                                                   Property Address: 1941 KENSINGTON DR
                                                                                                                                      HAMPTON VA 23663

     LEONA MCGOWAN
     272 BENDIX RD SUITE
     VIRGINIA BEACH VA 23452




  Dear Borrower:

  Welcome to BSI Financial Services. The servicing of your loan with ROUNDPOINT MORTGAGE SERVICING has been transferred to BSI Financial
  Services, and BSI Financial Services is servicing the loan on behalf of the current creditor HEADLANDS RESIDENTIAL 2019-RPL1, to whom the
  debt is owed.

  As of the date of this letter, your total unpaid principal balance is $86,105.98 due to HEADLANDS RESIDENTIAL 2019-RPL1, and your escrow
  account balance is $732.82. Your next payment due is in the amount of $789.48. Your current interest rate is 4.87500%.

  The total debt inclusive of all past due interest and fees, if any, is $85,732.56. Because of interest, late charges, and other charges that may vary
  from day-to-day, the amount due on the day you pay may be greater; therefore, if you pay the amount shown above, an adjustment may be
  necessary after we receive your payoff funds. Please contact BSI Financial Services at 800-327-7861 within 48 hours of when you intend to
  remit payoff funds to confirm the payoff amount. We will inform you of any adjustments prior to posting the payoff funds.

  For further information, please write to us at the address listed above or call us toll-free at 800-327-7861. Monday - Friday 8:00 a.m. - 11:00
  p.m. (ET) and Saturday 8:00 a.m. - 12:00 p.m. (ET).

  Unless you notify this office within thirty (30) days after receiving this notice that you dispute the validity of this debt, or any portion thereof,
  this office will assume this debt is valid. If you notify this office in writing within thirty (30) days after receiving this notice that you dispute the
  validity of this debt, or any portion thereof, this office will obtain verification of the debt or obtain a copy of the judgment and mail you a copy
  of the judgment or verification. Upon your written request for the name and address of the original creditor within the thirty (30) day period
  after receiving this notice, this office will provide you with the name and address of the original creditor, if different from the current creditor.
  Your loan may be sold by the current creditor to another party at any time.

  A consumer has the right to request in writing that a debt collector or collection agency cease further communication with the consumer. A
  written request to cease communication will not prohibit the debt collector or collection agency from taking any other action authorized by law
  to collect the debt. Please send the written request to:
                                                                 BSI Financial Services
                                                                 Attn: Customer Care
                                                           314 S Franklin St, Second Floor
                                                                      PO Box 517
                                                                  Titusville, PA 16354

  BSI Financial Services may report information about your account to credit bureaus. Late payments, missed payments or other defaults on your
  account may be reflected in your credit report. You have the right to dispute the accuracy of the information reported by submitting a Qualified
  Written Request. Submitting a Qualified Written Request does not relieve the customer of the responsibility of making their scheduled
  payments.

  Licensed as Servis One, Inc. dba BSI Financial Services BSI Financial Services BSI NMLS # 38078
  Customer Care Hours: Mon. - Fri. 8:00 am to 11:00 pm (ET) and Sat. 8:00 am to 12:00 pm (ET).
  If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your personal
  liability for the obligation identified in this letter, we may not and do not intend to pursue collection of that obligation from you personally. If either of these
  circumstances apply, this notice is not and should not be construed to be a demand for payment from you personally. Unless the Bankruptcy Court has ordered
  otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.
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                                       Qualified Written Request - Notice of Error or Information Request

Under the Real Estate Settlement Procedures Act, a qualified written request is a written correspondence (other than notice on your payment coupon or
other payment medium supplied by us) regarding the servicing of your loan which identifies your name, account number, and the specific reasons for the
request, such as an error on your loan account or a request for information. Any qualified written request you wish to submit must be sent to:

                                                                   BSI Financial Services
                                                             Attn: Qualified Written Requests
                                                            314 S Franklin Street / Second Floor
                                                                    Titusville, PA 16354

If you have any questions or concerns, please contact our office toll-free at 800-327-7861.



Sincerely,
BSI Financial Services
NMLS # 38078; # 126672

This is an attempt to collect a debt. Any information obtained will be used for that purpose.

Enclosures:
Temporary Coupon
Automatic Clearing House Application ( ACH )
Servicemembers Civil Relief Act Notice
Fees and Costs




Licensed as Servis One, Inc. dba BSI Financial Services BSI Financial Services BSI NMLS # 38078
Customer Care Hours: Mon. - Fri. 8:00 am to 11:00 pm (ET) and Sat. 8:00 am to 12:00 pm (ET).
If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your personal
liability for the obligation identified in this letter, we may not and do not intend to pursue collection of that obligation from you personally. If either of these
circumstances apply, this notice is not and should not be construed to be a demand for payment from you personally. Unless the Bankruptcy Court has ordered
otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.
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Service members Civil Relief                     U.S. Department of Housing                        OMB Approval 2502 0584
Act Notice Disclosure                               and Urban Development                             Exp 3/31/2021
                                                       Office of Housing
Legal Rights and Protections Under the SCRA
Servicemembers on "active duty" or "active service," or a spouse or dependent of such a servicemember maybe entitled to certain legal
protections and debt reliefpursuant to the Servicemembers Civil Relief Act (50 USC App. §§ 501-597b) (SCRA).

Who May Be Entitled to Legal Protections Under the SCRA?
    l Regular members of the U.S. Armed Forces (Army, Navy, Air Force, Marine Corps, and Coast Guard).
    l Reserve and National Guard personnel who have been activated and are on Federal active duty.
    l National Guard personnel under a call or order to active duty for more than 30 consecutive days under section 502(f) of title
      32, United States Code, for purposes of responding to a national emergency declared by the President and supported by
      Federal funds.
    l Active service members of the commissioned corps of the Public Health Service and the National Oceanic and Atmospheric
      Administration.
    l Certain United States citizens serving with the armed forces of a nation with which the United States is allied in the prosecution
      of a war or military action.

What Legal Protections Are Service members Entitled To Under the SCRA?
    l  The SCRA states that a debt incurred by a service member, or service member and spouse jointly, prior to entering military
       service shall not bear interest at a rate above 6 % during the period of military service and one year thereafter, in the case of an
       obligation or liability consisting of a mortgage, trust deed, or other security in the nature of a mortgage, or during the period of
       military service in the case of any other obligation or liability.
    l  The SCRA states that in a legal action to enforce a debt against real estate that is filed during, or within one year after the
       service member s military service, a court may stop the proceedings for a period of time, or adjust the debt. In addition, the
       sale, foreclosure, or seizure of real estate shall not be valid if it occurs during, or within one year after the service member s
       military service unless the creditor has obtained a valid court order approving the sale, foreclosure, or seizure of the real
       estate.
    l  The SCRA contains many other protections besides those applicable to home loans.

How Does A Service member or Dependent Request Relief Under the SCRA?
    l  In order to request relief under the SCRA from loans with interest rates above 6% a service member or spouse must provide a
       written request to the lender, together with a copy of the service member s military orders.
      BSI Financial Services 314 South Franklin St. Titusville, PA 16354, 1-800-327-7861
    l  There is no requirement under the SCRA, however, for a service member to provide a written notice or a copy of a service
       member s military orders to the lender in connection with a foreclosure or other debt enforcement action against real estate.
       Under these circumstances, lenders should inquire about the military status of a person by searching the Department of
       Defense s Defense Manpower Data Center s website, contacting the service member, and examining their files for indicia of
       military service. Although there is no requirement for service members to alert the lender of their military status in these
       situations, it still is a good idea for the service member to do so.

How Does a Service member or Dependent Obtain Information About the SCRA?
    l  Service members and dependents with questions about the SCRA should contact their unit s Judge Advocate, or their
       installation s Legal Assistance Officer. A military legal assistance office locator for all branches of the Armed Forces is available
       at http://legalassistance.law.af.mil/content/locator.php
    l   Military OneSource is the U. S. Department of Defense s information resource. If you are listed as entitled to legal protections
       under the SCRA (see above), please go to www.militaryonesource.com/scra or call 1-800- 342-9647 (toll free from the United
       States) to find out more information. Dialing instructions for areas outside the United States are provided on the website.
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   TYPICAL SERVICING-RELATED FEESDocument
                                  THAT BSI Financial
                                             Page 8 ofServices
                                                       9       MAY CHARGE BORROWERS
Below is a list of standard or common fees that BSI Financial Services may charge you, the borrower, depending on the services you
request or the loan servicing activity that we perform and with respect to which we are entitled by applicable law or the loan
documents to charge a fee. In some cases, BSI Financial Services may retain the fee and in others the fee may be a pass-through fee
that BSI Financial Services pays to a third party vendor. In the case of a pass-through fee, BSI Financial Services will never charge a
borrower more money than it is charged by a third party vendor to perform the particular service. Actual fees may vary depending
upon the terms of your loan documents, and are subject to all applicable laws and regulations.

IMPORTANT NOTE: This list does not include all fees and costs that may be charged for certain services that may be rendered to BSI
Financial Services, but charged to the borrower in connection with a bankruptcy or foreclosure or other litigation or default situation,
including, but not limited to, foreclosure costs, bankruptcy fees, attorneys fees, and court costs.

Payment Processing Related Fees and Costs

                  Type                                         Description                            Amount or Range of Charge

 Late Charge                                   A fee for failure to make an installment        As permitted by the terms of the loan
                                               payment on time due to a payment not            documents and/or state law.
                                               being received within the grace period as
                                               specified in the mortgage loan
                                               documents.
 NSF/Returned/Dishonored Check Fee             The fee that BSI will assess in the instance    $0.00 - $50.00 (varies by state).
                                               of a returned check or a rejected
                                               electronic payment due to insufficient
                                               funds.
 Pay-By-Phone with Loan Servicing Agent        Fee charged to allow payment on the             $20.00 or as permitted by state
                                               phone with a live Loan Servicing Agent.         law.
 Pay-By-Phone with Interactive Voice           Pay-By-Phone with Interactive Voice             $0 - $10.00 or as permitted by state law.
 Response (IVR) System                         Response (IVR) System This service is
                                               available at no charge when scheduling
                                               your payment to be deducted on available
                                               draft dates during the first five (5) days of
                                               your grace period or before. When
                                               scheduling your payment to be drafted on
                                               or after the sixth (6th) day of your grace
                                               period, you may be charged up to a $10
                                               fee. Late charges may also apply. $0 -
                                               $10.00 or as permitted by state law.
 Webpay Charge                                 This service is available at no charge when     $0 - $7.00 or as permitted by state law.
                                               scheduling your payment to be deducted
                                               on available draft dates during the first
                                               five (5) days of your grace period or
                                               before. When scheduling your payment to
                                               be drafted on or after the sixth (6th) day
                                               of your grace period, you may be charged
                                               up to a $7 fee. Late charges may also
                                               apply.

Mortgage & Default-Related Fees and Costs
                  Type                                         Description                              Amount Charge / Range

 Appraisal                                     Fee charged by a professional,                  Varies typically $350.00 - $550.00.
                                               certified residential real estate appraiser
                                               to determine the market value of a
                                               mortgaged property, which includes an
                                               interior inspection of the dwelling.
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                   Type                    Document        Page 9 of 9
                                                    Description               Amount Charge / Range

Broker Price Opinion (BPO)            Fee charged by a real estate broker            $75.00 - $125.00 or as otherwise
                                      or other qualified individual to determine     permitted by state law
                                      the estimated value of a property.
Document Recording Fee                The amount paid to the county                  Varies by county
                                      recorder's office to make a document a
                                      matter of record.
Flood Certification                   Fee charged by a flood certification           $8.00 - $16.00 per certification
                                      vendor to determine if a mortgaged
                                      property is located in a flood zone.
Lien Release Preparation Fee          Fee collected to prepare the documents         $54.00 or as permitted by state law
(pass-through by a third party)       to satisfy or release the lien.
Lien Release Fee                      Fee collected to record the                    Varies by County
                                      documents to satisfy or release the lien.
Partial Release                       Charge for processing the release of a         $500.00 for loans with a UPB <=
                                      portion of the mortgaged property.             $750,000; $1,000 for others
Priority Processing                   Fee charged if customer requests               $0.00 - $15.00
(Overnight Delivery)                  expedited service.
Property Preservation Fee             Fee charged by third party vendor to           $0.00 to $2500; and $0.00 to $110.00 for
                                      ensure that the condition and appearance       grass cuts
                                      of the mortgage property are maintained
                                      satisfactorily, as authorized in the
                                      mortgage.
Subordination Agreements              An expense charged to the borrower to          $500.00
                                      have the subordination prepared and
                                      submitted for investor approval. This fee
                                      is charged for the submission and is not
                                      dependent on approval or denial.

Title Search                          Fee charged by a title company or title        $0.00 - $500.00
                                      search provider to conduct a detailed
                                      examination of the land records and
                                      report the state of the title (that is, what
                                      liens and encumbrances affect the
                                      mortgaged property).
